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4

5    Attorney for Defendant
     EDWIN FORREST LUDWIG, III
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9                               IN THE UNITED STATES DISTRICT COURT
10                             FOR THE EASTERN DISTRICT OF CALIFORNIA
11   United States of America,                             No. 14-cr-43-KJM

12                Plaintiff,
                                                           ORDER RE WAIVER OF
13          vs.                                            DEFENDANT’S PRESENCE

14   Edwin F. Ludwig, III

15                Defendant.

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17          Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant, Edwin F.

18   Ludwig, III, hereby waives the right to be present in person in open court upon the hearing of

19   any motion or other proceeding in this case, including, but not limited to, when the case is set for

20   trial, when a continuance is ordered, and when any other action is taken by the court before or

21   after trial, specifically, appearances for any hearing regarding modification of conditions of

22   supervised release, except upon arraignment, plea, impanelment of jury and imposition of

23   sentence.

24          Defendant hereby requests the Court to proceed during every absence which the Court

25   may permit pursuant to this waiver; agrees that defendant’s interests will be deemed represented

26   at all times by the presence of the defendant’s attorney, the same as if the defendant were

27   personally present; and further agrees to be present in court ready for trial any day and hour the

28   Court may fix in the defendant’s absence.
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            The defendant further acknowledges being informed of the rights under Title 18
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     U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes the defendant’s attorney to set times and
4
     dates under that Act without the defendant’s personal presence.
5
            The original signed copy of this waiver is being preserved by the attorney undersigned.
6

7
     Dated: March 17, 2014
8
                                                         /s/ Edwin F. Ludwig, III
9                                                        Defendant
                                                         (Original retained by attorney)
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11
     I agree and consent to my client’s waiver of appearance.
12
     Dated: March 17, 2014
13
                                                         /s/ Dustin D. Johnson
14                                                       Dustin D. Johnson
                                                         Attorney for the Defendant
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17   IT IS SO ORDERED.

18   Dated: March 20, 2014.
                                                         UNITED STATES DISTRICT JUDGE
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                                    WAIVER OF DEFENDANT’S PRESENCE
